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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

                Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                               REDACTED
        ROGER J. STONE’S MOTION AND MEMORANDUM TO CLARIFY
     FEBRUARY 21, 2019 MINUTE ORDER AS APPLIED TO PORTION OF BOOK
         xxxxxxxxx WRITTEN/PUBLISHED PRIOR TO FEBRUARY 21, 2019

       1.       The Court’s February 21, 2019 Minute Order provided, in relevant part, that “the

defendant is prohibited from making statements to the media or in public settings about the Special

Counsel’s investigation or this case or any of the participants in the investigation of the case.”

       2.       On January 14, 2019, Roger Stone (“Defendant”) submitted to his publisher,

Skyhorse Publishing (the “Publisher”), an “xxxxxxxxxxx” to be included in the re-release of his

book “The Myth of Russian Collusion.” The book was originally published in 2017 as “The

Making of the President 2016.”

       3.       The book, with the “xxxxxxxxxxx”, was published by the Publisher on February

19, 2019. Copies were distributed by the Publisher to hundreds of retailers nationwide in late

January 2019.

       4.       Approximately “xxxxxxxxxxx” of the “xxxxxxxxxxx” from “xxxxxxxxxxx”,

beginning                           with                          the                          words


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xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx. A copy of the “xxxxxxxxxxx”, standing

alone, has been provided under seal for the Court’s convenience.

         5.      All of “xxxxxxxxxxx” was written prior to February 2019. The Publisher received

the draft on January 14, 2019; edits were made and approved on January 15, 2019. To the best of

Stone’s knowledge, information, and belief, not a single word in the book was created after

February 21, 2019.

         6.      The Defendant is committed to complying with the February 21, 2019 Order.

“xxxxxxxxxxx” had it been written post-February 21, 2019, could have contravened the Court’s

Order. But with the pre-February 21, 2019 printing by the Publisher, and the imminent general

relase of the book’s contents, including the “xxxxxxxxxxx”, Defendant respectfully requests that

the publication of this book (together with the ) should not be viewed as contravening the Court’s

prohibitions because these prohibitions were not extant and could not have been known prior to

February 21, 2019.

         7.      In an abundance of caution, Defendant seeks clarification from the Court regarding

the application of the February 21, 2019 prohibitions as applied to the circumstances set forth

above.

         8.      Defendant has alerted the Publisher to the issue presented here and has provided

the Publisher with a copy of this Motion/Memorandum.

         9.      Because the First Amendment rights of both the Publisher and Defendant are

implicated, and because Defendant has contractual obligations to the Publisher, and other

obligations to this Court, Defendant seeks this clarification.




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                                          CONCLUSION

       Defendant respectfully requests that the Court clarify its February 21, 2019 Order as

applied to the specific facts set forth above.

                                                     BUSCHEL GIBBONS, P.A.
                                                     /s/ Robert Buschel


                                                 Respectfully submitted,
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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on March 4, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.



     United States Attorney’s Office for the           United States Department of Justice
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